         IN THE SUPREME COURT OF THE STATE OF DELAWARE

  BRIAN SCOTT JOHNSON,      §
                            §                 No. 98, 2024
     Claimant Below,        §
     Appellant,             §                 Court Below–Superior Court
                            §                 of the State of Delaware
     v.                     §
                            §                 C.A. No. S23A-08-001
  CANALFRONT BUILDERS, LLC, §
                            §
     Employer Below,        §
     Appellee.              §

                         Submitted: August 14, 2024
                         Decided:   August 21, 2024

Before TRAYNOR, LEGROW, and GRIFFITHS, Justices.

                                     ORDER

      After consideration of the parties’ briefs and the record on appeal, we find it

evident that the Industrial Accident Board’s decision dated July 28, 2023, should be

affirmed on the basis of and for the reasons stated in the Superior Court’s

memorandum opinion and order dated February 29, 2024.

      NOW, THEREFORE, IT IS ORDERED that the above-described decisions

of the Industrial Accident Board and the Superior Court are AFFIRMED.

                                             BY THE COURT:

                                             /s/ N. Christopher Griffiths
                                             Justice
